     Case 1:18-cr-00126-DAD-BAM Document 106 Filed 09/06/19 Page 1 of 1


 1   GALATEA DeLAPP, 181581
     Attorney at Law
 2   1541 E. Fairmont Avenue 104
     Fresno, CA 93704
 3   Telephone: (559) 803-0471

 4

 5   Attorney for Defendant: MICHELLE MADEWELL

 6

 7                               UNITED STATES DISTRICT COURT
 8                              EASTERN DISTRICT OF CALIFORNIA
 9

10
      UNITED STATES OF AMERICA,                     Case No. 1:18-CR-00126 DAD-BAM
11                 Plaintiff,                    ORDER FOR RELEASE TO TREATMENT
12         v.                                    PROGRAM

13    MICHELLE MADEWELL, et al.
                  Defendants.
14

15

16

17                                               ORDER

18          Defendant Michelle Madewell shall be released to her father, Ronald Evans, from the
19   Kern County Jail for immediate transportation to the Teen Challenge Program located in
20   Bakersfield, California on September 9, 2019, at 8:00 a.m. Defendant is ordered to follow all
21   terms and conditions proposed by Pretrial Services in the Order Setting Conditions of Release.
22
     IT IS SO ORDERED.
23
        Dated:    September 6, 2019
24                                                    UNITED STATES DISTRICT JUDGE
25

26
27

28
                                                      1
